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                          UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHINGTON
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10
     UNITED STATES OF AMERICA,                    No. 2:14-CR-021-RMP-8
11
12                     Plaintiff,                 ORDER DENYING DEFENDANT’S
                                                  MOTION FOR
13 vs.                                            RECONSIDERATION
14
   DAVID L. WOMACK,
15
16                     Defendant.
17         At the April 1, 2014, hearing on Defendant's Motion for consideration, ECF
18   No. 453, Assistant U.S. Attorney George J.C. Jacobs, III, appeared for the United
19   States. Defendant was present, in custody, with counsel Jeffrey S. Niesen.
20         The United States, in seeking Defendant's detention, contended Defendant, if
21   released, would present a risk of flight and a danger to the safety of the
22   community. Both sides presented argument.
23         This Court has taken into account the evidence, testimony and information
24   produced at this hearing concerning the nature and circumstances of the offense
25   charged, the weight of the evidence against the Defendant, his history and
26   characteristics, including character, physical and mental condition, family ties,
27   employment, financial resources, length of residence in the community,
28   community ties, past conduct, history relating to alcohol and drug abuse, criminal



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 1   history, record concerning appearance at court proceedings, and the nature and
 2   seriousness of the danger to the community posed by Defendant's release.
 3         Based on the Pretrial Services Report, and proffer of the parties, the court
 4   finds there is a lack of sufficient reliable information that would allow conditions
 5   of release to be set. In the past, Defendant has provided unreliable responses to
 6   requests for information by authorities. There also is inconsistent information
 7   contained in the Pretrial Services Report.
 8         This Court finds there is probable cause Defendant has committed an offense
 9   for which a maximum term of imprisonment of ten years or more is prescribed
10   under the Controlled Substance Act. This Court finds Defendant has not rebutted
11   the 18 U.S.C. § 3142(e) presumption and has met the burden of production,
12   establishing there are conditions which will reasonably assure his appearance.
13         This Court makes no findings as to the safety of other persons or the
14   community, but finds the United States has established by the required
15   preponderance of evidence an absence of conditions or combination of conditions
16   that would reasonably assure this Defendant's presence at trial.
17         IT IS ORDERED:
18         1.     The Defendant’s Motion for Reconsideration, ECF No. 453, is
19   DENIED. Defendant shall be held in detention pending disposition of this case or
20   until further order of the court.
21         2.     Defendant is committed to the custody of the U.S. Marshal for
22   confinement separate, to the extent practicable, from persons awaiting or serving
23   sentences or being held in custody pending appeal.
24         3.     Defendant shall be afforded reasonable opportunity for private
25   consultation with his counsel.
26         4.     If the Defendant seeks review of this Order pursuant to 18 U.S.C. §
27   3145(b), attorney for Defendant shall file a written motion for revocation or
28   amendment of this Order within ten (10) days before the district judge to whom



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 1   this case is assigned and note it for hearing at the earliest possible date. Both
 2   parties are responsible to ensure the motion is determined promptly.
 3         DATED April 1, 2014.
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 5                               _____________________________________
                                           JOHN T. RODGERS
 6                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 3
